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                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                      )
                                              )
         v.                                   )      CRIMINAL NO. 21-CR-244-2(CKK)
                                              )
                                              )
ANTHONY GRIFFITH                              )

                                    NOTICE OF APPEARANCE

         COMES NOW Kira Anne West and enters her appearance as counsel for Mr. Anthony

Griffith in the above captioned case.

                                              Respectfully submitted,

                                              KIRA ANNE WEST

                                        By:           /s/
                                              Kira Anne West
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                                     CERTIFICATE OF SERVICE

         I hereby certify on the 24th day of October, 2022 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                        /S/
                                                     Kira Anne West
